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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


SARA OLSON,

                Plaintiff,
v                                                          Case No. 2012-

HCC EVALUATIONS, LLC,                                             Wayne County Circuit Court
JARED B. COHEN,                                                   Case No. 2012-007321-NZ
OVER THE RAINBOW, LLC                                             Honorable Jeanne Stempien
and EDWARD G. LARSON,

            Defendants.
______________________________/


                           DEFENDANTS HCC EVALUATIONS, LLC’S
                         AND JARED B. COHEN’S NOTICE OF REMOVAL
                            TO UNITED STATES DISTRICT COURT,
                          EASTERN DISTRICT - SOUTHERN DIVISION

TO:      United States District Court                      Honorable Jeanne Stempien
         Eastern District / Southern Division              Wayne County Circuit Court
         Theodore Levin U.S. Courthouse                    1719 CAYMC
         231 West Lafayette Boulevard                      2 Woodward Avenue
         Detroit, Michigan 48226                           Detroit, Michigan 48226

         Chris E. Davis (P52159)
         Michigan Protection & Advocacy Service, Inc.
         4095 Legacy Parkway, Suite 500
         Lansing, Michigan 48911


         NOW COME Defendants, HCC Evaluations, LLC and Jared B. Cohen, by and through their

attorney, Schwartz Law Firm, P.C., and for their Notice of Removal pursuant to 28 U.S.C. §1446(a)

state:

         1.     Plaintiff is Sara Olson. Defendants are HCC Evaluations, LLC, Jared B. Cohen, Over

the Rainbow, LLC and Edward G. Larson. Defendants, Over the Rainbow, LLC and Edward G.

Larson, join in this Notice of Removal and thereby consent to the removal of this action.

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       2.      On May 31, 2012, Plaintiff filed suit against Defendants for alleged violations of the

Americans With Disabilities Act, 42 U.S.C. §12101 et seq. and the Michigan Persons With

Disabilities Civil Rights Act, MCL 37.1101 et seq., as well as for negligent infliction of emotional

distress under Michigan state common law. Exhibit A.

       3.      Plaintiff filed the above-referenced lawsuit in the Third Circuit Court for Wayne

County in Detroit, Michigan and requested a jury trial.

       4.      Defendants, HCC Evaluations, LLC and Jared B. Cohen, were served with the lawsuit

on June 8, 2012.

       5.      Removal is proper because Plaintiff’s ADA claims arise under the laws of the United

States, and pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1367(a), this Court has jurisdiction.

       6.      Copies of all pleadings, process, orders and other filings in the State Court suit are

attached to this Notice as required by 28 U.S.C. §1446(a).

       7.      Venue is proper in this District under 28 U.S.C. §1441(a) because the State Court

where the suit has been pending is located in this District.

       8.      Defendants will promptly file a copy of this Notice of Removal with the Clerk of the

State Court where this suit has been pending.

       WHEREFORE, Defendants give notice that the above-captioned action now pending against

them in Wayne County Circuit Court is hereby removed to this Court on the basis of 28 U.S.C. §1331

and 28 U.S.C. §1367(a).

                                                SCHWARTZ LAW FIRM, P.C.

                                                By: /s/ Jay A. Schwartz
                                                    Attorney for Defendants -
                                                    HCC Evaluations and Jared B. Cohen
                                                    37887 West Twelve Mile Road, Suite A
                                                    Farmington Hills, Michigan 48331
                                                    (248) 553-9400
                                                    jschwartz@schwartzlawfirmpc.com
Dated: June 25, 2012                                (P45268)

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